
Appeal by_the corporate defendant *749from an order directing its examination before trial as an adverse party. Order affirmed, with ten dollars costs and disbursements, the examination to be had on five days’ notice. The constitutional provision protecting a person from self-incrimination is personal to the individual concerned and may not be invoked on Ms behalf by a corporate defendant. This privilege is not possessed by a corporation. The only one directed to be examined by this order is the corporate defendant. (Hale v. Henkel, 201 U. S. 43, 69; People v. Hudson Valley Construction Co., 165 App. Div. 626; Meade v. Southern Tier Masonic Relief Association, 119 id. 761.) On this view it is unnecessary to discuss the question of the policy of this Department as compared with that of other Departments in respect of permitting a person to invoke protection against a self-incrimination in advance of the examination directed to be had. Lazansky, P. J., Carswell, Johnston, Taylor and Close, JJ., concur.
